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 8
                                UNITED STATES DISTRICT COURT
 9
                             NORTHERN DISTRICT OF CALIFORNIA
10

11   IN RE: CATHODE RAY TUBE (CRT)  )          Master File No. CV-07-5944 SC
     ANTITRUST LITIGATION           )
12                                  )          MDL No. 1917
                                    )
13                                  )          PLAINTIFF JEFFREY FIGONE’S
                                    )          REPLY RE: MOTION FOR
14                                  )          APPOINTMENT OF INTERIM LEAD
15                                  )          COUNSEL FOR THE INDIRECT
                                    )          PURCHASER CLASS
16                                  )
     This document relates to:      )          Date: April 4, 2008
17                                  )          Time: 10:00 a.m.
     ALL INDIRECT PURCHASER ACTIONS )          Court: One, 17th Floor
18                                  )
19                                  )          The Honorable Samuel Conti
                                    )
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 2   I.     Introduction

 3          The Court now has before it four motions for appointment of interim lead or co-lead

 4   counsel for the indirect purchaser class in the In re Cathode Ray Tubes (CRT) Antitrust Litigation

 5   (hereinafter “CRT Cases”).

 6          Plaintiff Jeffrey Figone filed the first motion for appointment of its counsel, Trump,

 7   Alioto, Trump & Prescott, LLP (“TATP”), as interim lead counsel for the indirect purchaser class

 8   in this action on February 23, 2008. On February 25, 2008, Zelle Hofmann Voelbel Mason &

 9   Gette, LLP and Lovell Stewart Halebian, LLP (“Zelle/Lovell”) filed their motion to be appointed

10   as interim lead counsel. The motion of Ball & Scott and Goldman Scarlato & Karon, P.C.

11   (“Ball/Karon”) to be appointed interim lead counsel was filed on March 5, 2008.

12          On March 14, 2008, TATP filed its Response Re: Motions for Appointment as Interim

13   Lead Counsel for the Indirect Purchaser Class. Zelle/Lovell filed their Memorandum In

14   Opposition to TATP’s motion and the Ball/Karon motion later that same day. Ball/Karon did not

15   file a response to either the TATP motion or the Zelle/Lovell motion.

16          Thereafter, two more law firms, Alioto Law Firm and Miller Law, LLC (“Alioto/Miller”),

17   filed an opposition to the original three motions outlined above, and cross-moved for

18   appointment as interim lead counsel for the indirect purchaser class.

19          Given the complexities of this case and multiple qualified candidates, the Court should

20   appoint more than one lead counsel. There is ample precedent for this. See, In re Dynamic

21   Random Access Memory (DRAM) Antitrust Litigation, MDL No. 1486 (N.D. Cal.) (“DRAM”)

22   (where four firms were appointed as co-lead counsel for the indirect purchasers); In re Air Cargo

23   Shipping Servs. Antitrust Litig., MDL No. 1775 (E.D.N.Y.) (“Air Cargo”) (where four firms were

24   appointed as co-lead counsel for the indirect purchasers); In re Korean Air Lines Co., Ltd.

25   Antitrust Litigation, MDL No. 1891 (C.D. Cal.) (where three firms were appointed as co-lead

26   counsel for the plaintiffs). TATP should be one of the lead counsel.

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 1           As further demonstrated herein, TATP is the applicant best able to represent the interests

 2   of the indirect purchaser class in the CRT Cases. TATP is a highly experienced firm with

 3   particular expertise in post-CAFA indirect purchaser antitrust class actions. In addition, TATP

 4   has already performed significant work which will be of great future benefit to the class. As a

 5   result of this work, TATP now represents 14 named plaintiffs in 14 of the 20 indirect purchaser

 6   states with class representatives. Accordingly, Plaintiff Jeffrey Figone’s motion to appoint TATP

 7   as interim co-lead counsel for the indirect purchaser plaintiffs should be granted.

 8   II.     Argument

 9           In appointing interim lead counsel under Rule 23(g), the Court must determine whether

10   the applicant firm will fairly and adequately represent the interests of the proposed class. See,

11   Fed. R. Civ. Pro. 23(g)(1)(B). The Court’s determination of that question is informed by the

12   criteria set forth in Rule 23(g)(1):

13           In appointing class counsel, the court: (A) must consider: the work counsel has done in
             identifying or investigating potential claims in the action; counsel’s experience in
14           handling class actions, other complex litigation, and the types of claims asserted in the
             action; counsel’s knowledge of the applicable law; and, the resources that counsel will
15
             commit to representing the class; (B) may consider any other matter pertinent to counsel’s
16           ability to fairly and adequately represent the interests of the class….

17   Fed. R. Civ. Pro. 23(g)(1). “In evaluating prospective class counsel, the Court should
18   weigh all pertinent factors. No single factor should necessarily be determinative in a
19   given case.” Rule 23(g) advisory committee’s note (2003).
20           Before making its appointment, however, the Court should engage in an “independent
21   examination” of the competing attorneys’ submissions. The independent review ensures the
22   Court that counsel appointed to leading roles are qualified and responsible, will fairly and
23   adequately represent all of the parties on their side, and that their charges will be reasonable. See,
24   Manual on Complex Litigation (Fourth), § 10.224 (“Manual”).
25           A.      TATP’s Is Best Able To Represent The Class Because Its Experience In
                     Handling Post-CAFA Indirect Purchaser Class Actions Is Second To None
26
             TATP is the firm best able to represent the indirect purchaser class in this case because its
27
     experience in handling post-CAFA indirect purchaser class actions is second to none. TATP is
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                                            2
       PLAINTIFF JEFFREY FIGONE’S REPLY RE: MOTION FOR APPOINTMENT OF INTERIM LEAD
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 1   the only firm among the moving parties to prosecute a post-CAFA indirect purchaser case up to

 2   trial. See, In re OSB Antitrust Litigation, Case No. 06-cv-00826 (PSD) (E.D. Pa., filed February

 3   24, 2006) (“OSB”).

 4          TATP’s experience as Co-Lead Counsel in OSB will be invaluable in this case. TATP has

 5   demonstrated the ability to work cooperatively with direct purchaser counsel as well as defense

 6   counsel through motions to dismiss, massive document discovery, motions for judgment on the

 7   pleadings, class certification, experts (class certification and merits), motions for summary

 8   judgment, and Daubert motions. There have been a number of settlements. The OSB case is set

 9   for trial of the direct purchaser claims against the remaining defendants in June of this year. The

10   trial of the indirect purchaser claims will follow the trial of the direct purchaser claims. Thus,

11   TATP is the only firm among the moving parties to have experienced first-hand the particular

12   case management and legal issues involved in post-CAFA indirect purchaser cases in federal

13   court. None of the other firms seeking a leadership position can point to this track record.

14          Most importantly, in OSB TATP successfully certified indirect purchaser classes not only

15   for California, but for the following states as well:

16              •   The District of Columbia
17              •   Florida
18              •   Iowa
19              •   Kansas
20              •   Maine
21              •   Michigan
22              •   Minnesota
23              •   Mississippi
24              •   Nevada
25              •   New York
26              •   North Carolina
27              •   North Dakota
28
                                            3
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 1               •      Tennessee
 2               •      Vermont
 3               •      West Virginia
 4               •      Wisconsin
 5           Plaintiffs will seek to certify similar state classes in this case. This will be a major part of

 6   this case and will likely determine whether the case goes ahead or not. TATP’s experience in this

 7   regard should be afforded great weight in the Court’s determination of lead counsel. TATP’s

 8   success in class certification, along with its other qualifications, makes it the firm best able to

 9   serve as interim lead counsel.

10           Although the OSB litigation is TATP’s most relevant experience to this case, is not the

11   only experience that TATP will be able to draw on. TATP has over 34 years experience in

12   prosecuting multidistrict litigation and class actions in state and federal court throughout the

13   country. Since its founding, TATP has specialized in representing plaintiffs in antitrust class

14   actions involving allegations of price-fixing, monopolization, predatory pricing and group

15   boycott under the Sherman Act, the Clayton Act, the California Cartwright Act and Unfair

16   Competition Law, as well as numerous antitrust and consumer protection statutes of other States.

17           Mr. Alioto, one of TATP’s founding partners, has represented plaintiffs and defendants in

18   antitrust and other commercial matters for 34 years. Mr. Alioto was one of the first lawyers in

19   California to successfully prosecute indirect purchaser antitrust class actions under the Cartwright

20   Act and the Unfair Competition Law. He was counsel in the landmark decision Crown Oil v.

21   Superior Court, 177 Cal. App. 3d 604 (1986), which upheld the right of indirect purchasers to sue

22   under the Cartwright Act after their claims had been barred under federal law by the decision in

23   Illinois Brick. As a result of the Crown Oil decision, California consumers and businesses have

24   recovered millions of dollars in relief which would otherwise have been barred under Illinois

25   Brick. Crown Oil has paved the way for recoveries in other states throughout the nation as well.

26   These recoveries are in the billions of dollars. Mr. Alioto has been involved in approximately 50

27   antitrust cases.

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                                            4
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 1          Moreover, courts have recognized TATP’s success and expertise in prosecuting these

 2   cases. In granting class certification in OSB and appointing TATP Co-Lead Counsel for the class

 3   in the indirect purchaser case, the Honorable Paul S. Diamond of the Eastern District of

 4   Pennsylvania stated that TATP “are experienced, class action litigators” and “have vigorously

 5   and capably prosecuted this extremely demanding case, and I am satisfied that they will continue

 6   to do so.” OSB, 2007 U.S. Dist. LEXIS 56617, * 12 (E.D. Pa. Aug. 3, 2007)

 7          In another recent case, TATP obtained relief of approximately $50 million for California

 8   consumers on account of improper automobile repossession practices by two large finance

 9   companies. This result was obtained primarily by Mr. Alioto and TATP, with the assistance of

10   one other firm. In approving the settlement in that matter, the Honorable Daniel M. Hanlon (Ret.)

11   noted that TATP had handled the litigation “effectively and efficiently” and that counsel was

12   “experienced and competent” and had obtained an “excellent settlement.”

13          In sum, TATP is a highly experienced firm with particular expertise in indirect purchaser

14   class action antitrust cases such as this one. In appointing TATP interim co-lead counsel for the

15   indirect purchaser class, this Court can be safe in the knowledge that not only is it appointing a

16   firm with “experience in handling class actions, other complex litigation, and the types of claims

17   asserted in the action,” with extensive “knowledge of the applicable law,” (Fed. R. Civ. Pro.

18   23(g)(1)(C)), but also that it is appointing the firm “best able to represent the interests of the

19   class.” Fed. R. Civ. Pro. 23(g)(2)(B).

20          B.      TATP Is Best Able To Represent The Class Because Of The Significant and
                    Substantial Work It Has Already Performed
21
                    TATP is best able to represent the interests of the class because of the significant
22
     and substantial work it has already performed on behalf of the class. See, Fed. R. Civ. Pro.
23
     23(g)(1)(c) (“In appointing class counsel, the court: (A) must consider: the work counsel has
24
     done in identifying or investigating potential claims in the action.”).
25
            TATP has done the most work to advance the indirect CRT Cases. This work will be of
26
     great future benefit to the class. As a result of its diligent work and investigation of claims, TATP
27
     now represents 14 plaintiffs in 14 of the 20 indirect purchaser states, more than any of the other
28
                                            5
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 1   moving parties. See, Table 1 below, which sets out the plaintiffs represented by state for each of

 2   the candidates for interim lead counsel. 1

 3   Table 1: Candidates For Lead Counsel and Plaintiffs Represented By State

 4        Plaintiffs By
              State
                            Trump,
                             Alioto,
                                            Goldman
                                           Scarlato &
                                                            Zelle
                                                          Hofmann
                                                                           Lovell
                                                                          Stewart
                                                                                        Ball & Scott’s
                                                                                            Client
                                                                                                         Miller Law,
                                                                                                           LLC’s
                                                                                                                        Alioto Law
                                                                                                                       Firm’s Client
                           Trump &        Karon P.C.’s     Voelbel       Halebian,                        Clients
 5                          Prescott,        Clients      Mason &       LLP’s Clients
                          LLP’s Clients                  Gette, LLP’s
 6       Arizona               X               X
                                                           Clients

         California            X                              X
 7       Florida               X
         Massachusetts         X                                                                             X
 8       Michigan
         Minnesota
                               X
                               X               X              X
                                                                             X

         Mississippi           X
 9       Nevada                X
         New Mexico            X
10       New York
         North Dakota
                               X
                               X
         South Dakota          X
11       West Virginia         X
         Wisconsin             X
12       Arkansas
         Kansas
                                               X
                                               X
         New Hampshire                                                                                       X              X
13       South Carolina                        X
         Tennessee                             X              X              X                X
14       Vermont                               X


15
                 The new claims by plaintiffs represented by TATP greatly increase the potential recovery
16
     for the class in this case. TATP has invested considerable time and effort into investigating the
17
     claims of each of their plaintiffs and working with local counsel to gather evidence in support of
18
     their claims. Defendants will likely oppose class certification of those state classes for which
19
     there is no class representative. The existence of additional class plaintiffs will moot this
20
     opposition. Therefore, TATP has already conferred a substantial benefit on the indirect purchaser
21
     class as a whole by mooting defense arguments and greatly expanding the potential scope of
22
     recovery in this case.
23

24

25
     1
       TATP has done extensive research regarding the indirect CRT cases on file in the various
26   federal courts and continues to monitor these cases on a daily basis to ensure the information is
     up-to-date. Thus, the factual assertions regarding the plaintiffs represented by the various
27   applicants for interim lead counsel are made to the best of our knowledge based upon this
28   research.
                                               6
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 1           Moreover, the state classes represented by TATP are some of the most important in terms

 2   of population and favorable state law. The population of the 14 states represented by TATP

 3   represents approximately 87% of the total population of the 20 states which presently have class

 4   representatives. 2 TATP’s clients and the states they represent have collectively the largest stake

 5   in this litigation. Courts have recognized this factor in selecting class counsel in antitrust and

 6   other complex litigation. See, e.g., In re Scrap Metal Antitrust Litigation, 2002 WL 31988203, at

 7   *2 (N.D. Ohio Aug. 5, 2002).

 8           The fact that 14 plaintiffs representing 14 state classes have chosen TATP as their counsel

 9   should also carry considerable weight in selecting interim lead counsel. TATP also has the

10   support of associate counsel throughout the country to aid in the prosecution of these claims.

11   These firms also support the selection of TATP as lead counsel. These firms are:

12              •   Law Office of Joseph M. Patane, San Francisco, California;
13              •   Law Offices of Lawrence G. Papale, St. Helena, California;
14              •   Valinoti & Dito, LLP, San Francisco, California;
15              •   Law Office of Sherman Kassof, Lafayette, California;
16              •   Mansfield, Tanick & Cohen, P.A., Minneapolis, Minnesota;
17              •   Jeffries, Olson & Flom, P.A., Fargo, North Dakota;
18              •   Frankovitch, Anetakis, Colantonio & Simon, Weirton, West Virginia;
19              •   Gerard & Osuch, LLP, San Diego, California;
20

21   2
       The 14 states represented by TATP and their populations are as follows: Arizona 6,338,755;
22   California 36,553,215; Florida 18,251,243; Massachusetts 6,449,755; Michigan 10,071,822;
     Minnesota 5,197,621; Mississippi 2,918,785; Nevada 2,565,382; New Mexico 1,969,915; New
23   York 19,297,729; North Dakota 639,715; South Dakota 796,214; West Virginia 1,812,035;
     Wisconsin 5,601,640. The total population for these States is: 118,463,826. The remaining states
24   for which there are currently class representatives and their populations are: Arkansas 2,834,797;
25   Kansas 2,775,997; New Hampshire 1,315,828; South Carolina 4,407,709; Tennessee 6,156,719;
     Vermont 621,254. The total population for these states is: 18,112,304. Source: United States
26   Census Bureau- estimates as of July 2007. While not all residents of a given state will be
     members of the indirect purchaser class, population is a good indicator of potential class
27   members.
28
                                              7
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 1              •   Gerard & Osuch, LLP, Las Vegas, Nevada; and
 2              •   Law Office of Robert Bonsignore, Medford, Massachusetts.
 3          In light of the large number of states represented, and the large number of firms which

 4   support TATP as lead counsel, it would be anomalous to appoint another firm and exclude TATP

 5   from lead counsel in this case. For example, Mr. Lovell represents clients in Michigan and

 6   Tennessee. TATP also represents a client in Michigan. Three other firms also represent clients in

 7   Tennessee. Mr. Lovell brings nothing to the table in terms of representing additional plaintiffs in

 8   states which do not yet have plaintiffs. Yet Mr. Lovell seeks a leadership position over TATP. He

 9   seeks to speak for 13 states represented by TATP and 5 states represented by other counsel, even

10   though he has no clients in these states.

11          Similarly, Joseph Alioto and Marvin Miller seek to control litigation involving states for

12   which they have do not have clients. Joseph Alioto represents a plaintiff from New Hampshire.

13   Marvin Miller represents plaintiffs from Massachusetts and New Hampshire (the same plaintiff

14   Joseph Alioto represents). Since TATP also represents a plaintiff from Massachusetts, the only

15   “new” plaintiff Alioto/Miller represent is from New Hampshire. Yet they want to assume a

16   leadership position on behalf of plaintiffs in 19 other states. These plaintiffs in these 19 states

17   have already selected their counsel. These counsel are more qualified to serve as lead counsel

18   than Messrs. Alioto and Miller, since they actually represent clients in these states.

19          In addition to the work TATP has done in identifying viable class representatives,

20   investigating their claims, and gathering evidence of those claims, TATP has also spent

21   substantial time conducting a detailed analysis of the market for Cathode Ray Tubes (CRT) and

22   products containing CRTs (collectively “CRT Products”). This has included a detailed

23   investigation into the manufacturing process (including how CRT Products are fabricated, how

24   they are assembled and the process for testing quality), the means of distribution in the industry

25   (including direct and indirect sales and the respective roles of manufacturers’ representatives,

26   distributors and agents), and obtaining significant pricing and competitive information. This work

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                                            8
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 1   product will assist TATP in prosecuting this case against the defendants and confers a substantial

 2   benefit on the class.

 3          TATP drafted a Status Conference Statement and circulated it to other indirect counsel for

 4   their input in advance of the April 4, 2008 Status Conference before the Court. TATP has

 5   continued to engage in discussions with other indirect counsel regarding leadership issues in an

 6   attempt to resolve these issues before the April 4, 2008 hearing. Further, TATP has been in

 7   contact with the proposed interim lead counsel for the direct purchaser class regarding

 8   coordination of our efforts to prosecute this litigation. Finally, TATP has also discussed a number

 9   of initial case management issues with the defendants.

10          The significant and substantial work performed by TATP to advance this litigation and

11   benefit the class is further evidence of TATP’s particular expertise in indirect purchaser class

12   actions. It is also further evidence that TATP is the applicant best able to represent the interests

13   of the class in this case. Accordingly, Plaintiff Jeffrey Figone’s motion to appoint TATP as

14   interim lead or co-lead counsel for the indirect purchaser plaintiffs should be granted.

15          C.      No Firm Disputes TATP’s Ability To Serve As Lead Counsel And No Firm Is
                    More Qualified To Serve As Lead Counsel Than TATP
16
                    The Ball/Karon group did not file a response to TATP’s motion to serve as lead
17
     counsel. Thus, they do not dispute TATP’s ability to serve as lead counsel. The Alioto/Miller
18
     group filed an opposition, but did not raise any specific objection to TATP. The Alioto/Miller
19
     group simply argues that it is better suited to serve as lead counsel than TATP. We disagree. It is
20
     readily apparent from Mr. Alioto’s resume that his forte is not leading indirect purchaser cases.
21
     Similarly, Mr. Miller has not identified any indirect purchaser cases in which he has served in a
22
     leadership capacity. This is not intended as a general criticism of Messrs. Alioto or Miller. Both
23
     counsel should play a significant role in this case by serving on plaintiffs’ Executive Committee.
24
            Finally, the Zelle/Lovell group has not raised any specific objection to TATP. They too
25
     simply argue that they are better qualified. They point to the fact that Mr. Lovell filed the first
26
     complaint, Kindt v. Matsushita Electric Industrial Co., Ltd., et al., Case No. 07-cv-10322
27

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                                            9
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 1   (S.D.N.Y.), on November 13, 2007. This is entitled to no weight in the determination of lead

 2   counsel.

 3           The Kindt complaint is brought on behalf of one plaintiff, a Michigan resident. The case

 4   has not progressed beyond any other case. TATP filed its first complaint on December 13, 2007,

 5   only one month after Kindt, and has filed two additional complaints since then. 3 TATP’s

 6   complaints are much broader in scope, having been brought on behalf of fourteen plaintiffs in

 7   fourteen different states. They required much more investigation, research and preparation than

 8   the Kindt complaint. Therefore, the filing of the Kindt complaint should have no bearing on the

 9   selection of Mr. Lovell as lead counsel.

10           TATP served its initial complaint on all defendants. It has not followed up on this initial

11   service by obtaining Letters Rogatory and formal service because it determined it would not be

12   efficient to do so at this point. The parties are seeking a stipulation from defense counsel

13   regarding service of foreign defendants. The direct purchaser plaintiffs have filed motions for the

14   issuance of Letters Rogatory in order to serve foreign defendants. The Court granted these

15   motions. Docket No. 35, 64 and 73. Thereafter, the direct purchaser plaintiffs sent a proposed

16   stipulation to defense counsel which provides that service of one direct or indirect complaint

17   would constitute service of process in the consolidated direct or indirect purchaser actions,

18   respectively. This, and further negotiations, may obviate the need for time consuming and

19   expensive foreign service of process. Thus, TATP has not pursued foreign service at this point.

20           No firm should be given any special consideration because it serves as lead counsel in any

21   “related litigation.” Every case is different. There is no concrete showing that involvement in any

22   case involving the same defendants as this case, or products similar to those in this case, gives

23   any firm a distinct advantage in leading this case. Even if this did confer some advantage, TATP

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      Samuel Nasto, et al. v. LG Electronics, Inc., et al., Case No. 3:08-cv-1371-SC; Brigid Terry, et
27   al. v. LG Electronics, Inc., et al., Case No. 3:08-cv-1559-VRW.
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 1   could make the same argument. TATP is also involved in cases involving the same defendants as

 2   this case, and products similar to this case. 4

 3           Furthermore, these so-called related cases are still at the pleading stage. This is in contrast

 4   to the OSB case which has been fully prepared and is awaiting trial. Finally, involvement in a

 5   number of large and complex related cases could be cited as factor militating against appointment

 6   of lead counsel in this case. Participation by certain firms in these other cases will divert

 7   resources from this case, potentially prejudicing the prosecution of this case.

 8           Firm size should be given very little weight in the Court’s appointment of lead counsel. If

 9   a firm has 50 lawyers, that does not mean that 50 lawyers will be working on this case. Most

10   firms will staff this case with a core group of 3-4 lawyers, supplemented by other lawyers as the

11   need arises. TATP plans to staff the case in this manner and has a core group of 4 highly

12   experienced lawyers who will work on this case. In addition, TATP will work with the other

13   lawyers who are appointed to leadership positions as well as TATP’s network of associate

14   lawyers who will assist in the prosecution of various state law claims. There will be enough

15   manpower and enough money to get the best possible result for the class.

16           Finally, the Court should look to the experience and qualifications of those lawyers who

17   are going to work on this case. Accomplishments by “law firms” are not as important as

18   accomplishments by the individual lawyers who will actually be working on this case. Similarly,

19   resumes listing a long string of multimillion dollar recoveries may be misleading. Oftentimes

20   these recoveries were obtained by many plaintiffs’ firms and the individual lawyer touting the

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22   4
      TATP has been involved in other MDL litigation involving markets and goods similar to CRT
     Products. See, In re Dynamic Random Access Memory (DRAM) Antitrust Litigation, (N.D. Cal.
23   Case No. 02-1486 (PJH), MDL No. 1486) (indirect purchaser antitrust class action involving
     price-fixing of DRAM memory chips); In re TFT-LCD (Flat Panel) Antitrust Litigation, (N.D.
24   Cal. Case No. 07-1827 (SI), MDL No. 1827) (indirect purchaser antitrust class action involving
     price fixing of LCD or flat panel TVs); In re SRAM Antitrust Litigation (N.D. Cal. Case No. 07-
25   1819 (CW), MDL No. 1819) (indirect purchaser antitrust class action involving price fixing of
     SRAM memory chips); In re Graphics Processing Units Antitrust Litigation (N.D. Cal. Case No.
26   07-1826 (WHA), MDL No. 1826) (direct purchaser antitrust class action involving price fixing of
     computer Graphics Cards); In re Flash Memory Antitrust Litigation (N.D. Cal. Case No. 07-
27   00086 (SBA), MDL No. 1852) (direct purchaser class action involving price fixing of Flash
     memory).
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 1   recovery actually played a small role in the case. TATP has set forth the experience and

 2   qualifications of the individual lawyers who will work on this case, and that experience and those

 3   qualifications must be measured against the experience and qualifications of the other individual

 4   lawyers who have put themselves forward for lead counsel.

 5            D.    The Court Should Adopt A Leadership Structure Which Is Inclusive Of All
                    The Moving Parties
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                    While TATP believes it is best qualified to serve as interim co-lead counsel, it
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     does not believe any leadership structure adopted by the Court should be exclusive. To the
 8
     contrary, the organization of plaintiffs’ counsel should be structured to best utilize the talents and
 9
     experience of each firm seeking a leadership role in the indirect purchaser litigation. Given the
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     size and complexity of this litigation, which spans over 12 years and involves over 20 defendants,
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     this can be best accomplished by the appointment of both lead counsel and an Executive
12
     Committee comprised of all the firms who have filed motions seeking a leadership role. The
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     direct purchaser plaintiffs have proposed the same leadership structure. We have submitted
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     herewith a Proposed Order Appointing Interim Lead Class Counsel And Executive Committee
15
     For The Indirect Purchaser Plaintiffs. This proposed order tracks the proposed order filed by the
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     direct purchasers.
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 1   III.   Conclusion

 2          For all of the foregoing reasons, TATP should be appointed as one of the interim co-lead

 3   counsel for the indirect purchaser class.

 4   Dated: March 21, 2008                 Respectfully submitted,

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